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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
 -----------------------------------------------------------X
 PEDRO MARTINEZ, Individually and as the
 representative of a class of similarly situated persons,
                                                                  Case No. 1:21-cv-4328-EK-MMH
                                          Plaintiff,

                           - against -

 CENTO FINE FOODS, INC.,

                                            Defendants.
 -----------------------------------------------------------X

                 NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE

                 Pedro Martinez, by his attorneys, Shaked Law Group, P.C., and pursuant to FRCP

41(a)(1)(A)(i), hereby provides notice of voluntary dismissal, with prejudice, and without costs

or attorneys’ fees, of the above-referenced matter against Cento Fine Foods. No Answer has

been filed in this case.

Dated: Scarsdale, New York
       January 5, 2022
                                                       SHAKED LAW GOUP, P.C.
                                                       Attorneys for Plaintiff

                                                    By:_/s/Dan Shaked________________
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